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 7

 8
                         UNITED STATES DISTRICT COURT
 9
                      SOUTHERN DISTRICT OF CALIFORNIA
10

11
     CAROLINE FORONDA,                      Case No. '20CV2417 BEN MSB
12
                     Plaintiff,             COMPLAINT FOR DAMAGES
13
            v.                              1. VIOLATION OF THE FAIR DEBT
14                                          COLLECTION PRACTICES ACT, 15
                                            U.S.C. §1692 ET SEQ.
15
     RADIUS GLOBAL SOLUTIONS                2. VIOLATION OF THE ROSENTHAL
16   LLC,                                   FAIR      DEBT     COLLECTION
                                            PRACTICES ACT, CAL. CIV. CODE
17                   Defendant.             §1788 ET SEQ.
18                                          DEMAND FOR JURY TRIAL
19

20                                    COMPLAINT
21         NOW COMES Plaintiff, CAROLINE FORONDA (“Plaintiff”), by and
22
     through her attorneys, Farah Law, P.C., complaining as to the conduct of RADIUS
23

24   GLOBAL SOLUTIONS LLC (“Defendant”) as follows:
25                                NATURE OF THE ACTION
26      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection
27
     Practices Act (“FDCPA”) under 15 U.S.C. §1692 et seq. and the Rosenthal Fair Debt
28
                                              1
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 1   Collection Practices Act (“RFDCPA”) pursuant to Cal. Civ. Code §1788 et seq., for
 2
     Defendant’s unlawful conduct.
 3

 4                                 JURISDICTION AND VENUE

 5        2. This action arises under and is brought pursuant to the FDCPA. Subject matter
 6
     jurisdiction is conferred upon this Court by 15 U.S.C §1692, 28 U.S.C. §§1331 and
 7

 8   1337, as the action arises under the laws of the United States. Supplemental
 9   jurisdiction exists for Plaintiff’s state law claim pursuant to 28 U.S.C. §1367.
10
          3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant
11

12   conducts business in the Southern District of California and a substantial portion of
13   the events or omissions giving rise to the claims occurred within the Southern District
14
     of California.
15

16                                          PARTIES
17        4. Plaintiff is a disabled consumer over 18-years-of-age residing in San Diego
18
     County, California, which is located within the Southern District of California.
19

20        5. Defendant “is a leading provider of account recovery and debt collection,
21
     customer relationship management and healthcare revenue cycle management
22
     solutions.” 1 Defendant is a third-party debt collector organized under the laws of the
23

24   State of Minnesota, with its principal place of business and registered agent located
25

26

27

28   1
         https://www.radiusgs.com/about-us/
                                                2
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 1   at 7831 Glenroy Road, Suite 250, Edina, Minnesota 55439. Defendant regularly
 2
     collects from consumers in the State of California.
 3

 4
           6. Defendant acted through its agents, employees, officers, members, directors,

 5   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives
 6
     and insurers at all times relevant to the instant action.
 7

 8                                              FACTS SUPPORTING CAUSES OF ACTION

 9         7. The instant action arises out of Defendant's attempts to collect upon a
10
     purportedly outstanding consumer debt ("subject debt") said to be owed by Plaintiff.
11

12         8. The subject debt stems from a defaulted line of credit that Plaintiff originally

13   obtained through First Premier Bank ("the original creditor").
14
           9. After Plaintiffs purported default with the original creditor, the subject debt
15

16   was assigned to Defendant for collection purposes.

17         10. On or about November 17, 2020, Defendant mailed, or caused to be mailed,
18
     to Plaintiff a collection letter seeking collection of the subject debt ("the Collection
19

20   Letter").
21         11 . The Collection Letter was the first written communication Plaintiff received
22
     from Defendant in connection with the subject debt.
23

24         12. The Collection Letter lists the subject debt (account ending in -1936) with a
25
     "Balance Due" of $546.87, as seen below:
26
     I\• I 1111111( ,   Ill   um   ulf ll.                                                          Balance Due:
27   I l fl l 111111
                                    I 11 I I'll 11111 1 t"lhllk       Ar.1,ount #:                  $546.87
     I '•hi lie 1 1111111111                                          ' 1 1760'··• .. •1030
28   1 1 1 [)II I Al lll lAI At lt I
                                                                                                      f     the Account(
                                                                            o rnrnll lho 101nl balance or

                                                                  3
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 1       13. Plaintiff was confused by the Collection Letter, as she did not recall owing
 2
     this precise amount to the original creditor.
 3

 4       14. In an effort to ascertain additional information regarding the subject debt, in

 5   December                 2020,   Plaintiff      accessed    Defendant's             website
 6
     (https://paymentportal.radiusgs.com/login) ("Defendant's Portal").
 7

 8       15. Plaintiff entered her personal information and was directed to her "Account

 9   Information," which listed the subject debt with the same account number ending in
10
     -1936.
11

12       16. Plaintiff was taken aback, however, when she noticed that Defendant's Portal

13   was listing the subject debt with a "Total Balance Due" of $1,093.74, as seen below:
14
     Account Information
15
      Account Ho4der's Name                                                 FORONDA. CAROLINE

16    Creditor's Name                                                          f1rst Premier Bank

      Account Number                                                            ............... 1936
17
      Total Balance Due                                                                 S1.093.74
18
      last Payment Date
19
      ErvoUcd Plans                                                                            N/A

20
21       17. Again, Defendant's November 17, 2020 Collection Letter listed the balance
22
     on the subject debt as $546.87, but yet, Defendant's portal listed the exact same debt
23

24   as double the amount-- $1,093.74.
25
         18. Defendant's conduct was confusing to Plaintiff and misled her about the
26
     nature of her purported obligation in connection with the subject debt.
27

28
                                                  4
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 1      19. Moreover, Plaintiff did not believe that the subject debt was variable (i.e.
 2
     accruing interest and/or charges), but yet, given the significant increase in the balance
 3

 4   of the subject debt, Plaintiff was unsure as to where this additional amount was

 5   coming from.
 6
        20. To add to Plaintiff’s confusion, Defendant’s Collection Letter did not
 7

 8   mention that, due to any accruing interest and/or charges, the amount due on the day
 9   Plaintiff actually remits payment may be greater than the itemized amounts reflected
10
     in Defendant’s November 17, 2020 letter.
11

12      21. Defendant’s online portal also failed to inform Plaintiff why the balance
13   increased.
14
        22. Given the increase in the total balance and the fact that the subject debt was
15

16   not variable, however, it is clear that Defendant’s portal is falsely representing the
17   amount of the subject debt.
18
        23. Defendant’s conduct was misleading to Plaintiff, and is similarly misleading
19

20   and confusing to the unsophisticated consumer, as it left Plaintiff guessing as to her
21
     obligations in connection with the subject debt.
22
        24. After a reasonable time to conduct discovery, Plaintiff believes she can prove
23

24   that all actions taken by Defendant as described in this Complaint, supra, were taken
25
     willfully and/or with knowledge that its actions were taken in violation of the law.
26

27

28
                                                 5
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 1      25. Plaintiff justifiably fears that, absent this Court’s intervention, Defendant will
 2
     continue to attempt to collect the subject debt from her using abusive, deceptive and
 3

 4   unlawful means, and ultimately cause her unwarranted financial harm.

 5      26. Plaintiff has further suffered a violation of her state and federally protected
 6
     interests as a result of Defendant’s conduct.
 7

 8      27. Due to Defendant’s conduct, Plaintiff was forced to hire counsel and her
 9   damages therefore include reasonable attorneys’ fees incurred in prosecuting this
10
     action.
11

12      28. Due to Defendant’s conduct, Plaintiff is entitled to statutory damages,
13   punitive damages and all other appropriate measures to punish and deter Defendant
14
     and other debt collectors from engaging in the unlawful collection practices described
15

16   in this Complaint, supra.
17       COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
18
        29. Plaintiff repeats and realleges paragraphs 1 through 28 as though fully set
19

20   forth herein.
21
        30. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA,
22
     because it regularly uses the mail and/or the telephone to collect, or attempt to collect,
23

24   delinquent consumer accounts.
25
        31. Defendant is engaged in the business of regularly collecting or attempting to
26
     collect, directly or indirectly, defaulted debts owed or due or asserted to be owed or
27

28   due to others, and debt collection is the primary purpose of its business. Defendant
                                                  6
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 1   has also been a member of the Association of Credit and Collection Professionals
 2
     (“ACA”) since 1983.2
 3

 4        32. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out

 5   of a transaction due or asserted to be owed or due to another for personal, family, or
 6
     household purposes.
 7

 8                  a.    Violations of the FDCPA §§ 1692e and f
 9        33. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from
10
     using “any false, deceptive, or misleading representation or means in connection with
11

12   the collection of any debt.”
13        34. In addition, this section enumerates specific violations, such as:
14
                    “The false representation of – the character, amount, or legal
15                  status of any debt.” 15 U.S.C. § 1692e(2)(A);
16
                    “The use of any false representation or deceptive means to
17                  collect or attempt to collect any debt or to obtain information
                    concerning a consumer.” 15 U.S.C. §1692e(10).
18

19        35. Defendant violated §§ 1692e, e(2)(A), e(10), and f through its false and
20
     deceptive representations regarding the total balance of the subject debt in its
21
     Collection Letter and online portal. As indicated by Defendant’s November 17, 2020
22

23   collection letter, the balance on the subject debt is $546.87. Yet, upon logging into
24
     Defendant’s portal, Plaintiff is notified that the subject debt is actually $1,093.74,
25
     which is exactly double the amount of the actual balance. Defendant unfairly and
26

27

28   2
         http://www.acainternational.org/search#memberdirectory
                                                  7
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 1   deceptively set forth the incorrect and increased balance on its portal in order to
 2
     extract additional payment from Plaintiff. Nowhere in Defendant’s Collection Letter
 3

 4   or its online portal does Defendant explain the reason for the significant increase, so

 5   Plaintiff was left guessing as to her actual obligations with regard to the subject debt.
 6
                  b.     Violations of the FDCPA § 1692g
 7

 8      36. The FDCPA, pursuant to 15 U.S.C. §1692g(a), requires debt collectors to
 9   provide consumers with various pieces of information regarding consumer’s rights
10
     to dispute the validity of certain debts in the initial written communication with
11

12   consumers. Pursuant to 15 U.S.C. § 1692g(a)(1), a debt collector must adequately
13   provide “the amount of the debt.”
14
        37. Defendant violated § 1692g(a)(1) when it failed to adequately identify the
15

16   amount of the debt in its communications to Plaintiff. Although Defendant’s
17   November 17, 2020 letter purports to outline the total amount due, as subsequently
18
     seen by Defendant’s online portal, which set forth an increased balance, Defendant
19

20   clearly provided Plaintiff with a false amount of the debt. Defendant doubled the
21
     balance of the subject debt in an effort to collect an amount that it was not authorized
22
     to collect. Defendant’s failure posed a risk of harm to Plaintiff’s ability to
23

24   intelligently determine the best way for her to go about addressing the subject debt.
25
        WHEREFORE, Plaintiff, CAROLINE FORONDA, respectfully requests that this
26
     Honorable Court enter judgment in her favor as follows:
27

28
                                                 8
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 1         a. Declaring that the practices complained of herein are unlawful and violate
 2            the aforementioned bodies of law;

 3         b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15
 4            U.S.C. §1692k(a)(2)(A);

 5         c. Awarding Plaintiff actual damages, in an amount to be determined at trial,
 6            as provided under 15 U.S.C. §1692k(a)(1);

 7         d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15
 8            U.S.C. §1692k(a)(3); and
 9         e. Awarding any other relief as this Honorable Court deems just and
10            appropriate.
11                        COUNT II – VIOLATIONS OF THE ROSENTHAL
                           FAIR DEBT COLLECTION PRACTICES ACT
12
        38. Plaintiff restates and realleges paragraphs 1 through 37 as though fully set
13

14   forth herein.
15      39. Plaintiff is a “person” as defined by Cal. Civ. Code § 1788.2(g).
16
        40. The subject debt is a “debt” and “consumer debt” as defined by Cal. Civ.
17

18   Code § 1788.2(d) and (f).
19      41. Defendant is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
20
             a. Violations of RFDCPA § 1788.10 -1788.17
21

22      42. The RFDCPA, pursuant to Cal. Civ. Code § 1788.17 states that
23
     “Notwithstanding any other provision of this title, every debt collector collecting or
24
     attempting to collect a consumer debt shall comply with the provisions of Section
25

26   1692b to 1692j, inclusive of, and shall be subject to the remedies in Section 1692k
27
     of, Title 15 of the United States Code.”
28
                                                9
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  1      43. As outlined above, through its false, deceptive, and misleading attempts to
  2
      collect upon the subject debt, Defendant violated 1788.17; and §§1692e, f, and g.
  3

  4   Defendant deceptively doubled the balance of the subject debt on its online portal in

  5   an effort to collect an amount from Plaintiff that was greater than what Defendant
  6
      was contractually and/or legally entitled to collect. Defendant’s conduct left Plaintiff
  7

  8   confused as to her obligations regarding the subject debt.
  9      44. Defendant willfully and knowingly violated the RFDCPA through its
 10
      unlawful collection efforts. Defendant’s willful and knowing violations of the
 11

 12   RFDCPA should trigger this Honorable Court’s ability to award Plaintiff statutory
 13   damages of up to $1,000.00, as provided under Cal. Civ. Code § 1788.30(b).
 14
         WHEREFORE, Plaintiff, CAROLINE FORONDA, respectfully requests that this
 15

 16   Honorable Court enter judgment in her favor as follows:
 17      a. Declare that the practices complained of herein are unlawful and violate the
 18         aforementioned statute;
 19      b. Award Plaintiff actual damages, pursuant to Cal. Civ. Code § 1788.30(a);
 20
         c. Award Plaintiff statutory damages up to $1,000.00, pursuant to Cal. Civ. Code
 21
            § 1788.30(b);
 22
         d. Award Plaintiff costs and reasonable attorney fees as provided pursuant to Cal.
 23
            Civ. Code § 1788.30(c);
 24
         e. Enjoining Defendant from further contacting Plaintiff; and
 25

 26      f. Award any other relief as the Honorable Court deems just and proper.
 27

 28
                                                 10
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  1   DATED this 11th day of December, 2020.        Respectfully submitted,
  2
                                                    By: /s/ Neda Farah
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  8                                                 Counsel for Plaintiff
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